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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- x
CERVECERÍA MODELO DE MÉXICO,                                   :
S. DE R.L. DE C.V.,                                            :
                                                               :
                                    Plaintiff,                 :
                          v.                                   :
                                                               :   No. 1:21-CV-01317
CB BRAND STRATEGIES, LLC,                                      :
CROWN IMPORTS LLC, and                                         :
COMPAÑÍA CERVECERA DE                                          :
COAHUILA, S. DE R.L. DE C.V.,                                  :
                                                               :
                                    Defendants.                :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- x

                            COMPLAINT AND DEMAND FOR JURY TRIAL

          Plaintiff Cervecería Modelo de México, S. de R.L. de C.V. (“Modelo”), by and through its

undersigned attorneys, files this Complaint against Defendants CB Brand Strategies, LLC, Crown

Imports LLC, and Compañía Cervecera de Coahuila, S. de R.L. de C.V. (together, “Constellation”

or “Defendants”), and alleges as follows on knowledge as to its own acts and on information and

belief as to all others:

                                                   INTRODUCTION

                    1.        Modelo brings this action to prevent Constellation from misusing and

misappropriating Modelo’s valuable CORONA® trademark for Corona Hard Seltzer.

                    2.        Over the course of nearly a century, Modelo created a portfolio of Mexican-

style beers that have become iconic global brands. Modelo’s brand portfolio of Mexican-style

beers includes Corona—the world’s most popular Mexican beer and the most popular imported

beer brand in the United States—Modelo, Pacifico, and Victoria. These and other beers highlight

Modelo’s rich Mexican heritage and its commitment to quality and flavor.
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               3.      In 2013, Modelo licensed certain of its rights in the Corona brand to

Constellation pursuant to the “Amended and Restated Sub-License Agreement” (the “Sublicense”)

(Ex. A).    Under the Sublicense, Constellation is licensed certain rights to the CORONA®

trademarks, but only in the United States and Guam, and only for the limited product area of

“Beer.” “Beer” is an expressly defined term in the Sublicense: “‘Beer’ means beer, ale, porter,

stout, malt beverages, and any other versions or combinations of the foregoing, including non-

alcoholic versions of any of the foregoing.” (Ex. A § 1.1 at 4.)

               4.      Until 2020, the parties coexisted under this arrangement, and cooperated in

Constellation’s efforts to extend the Corona brand. By 2020, however, Constellation had failed in

its attempt to introduce a commercially viable “hard seltzer” into the marketplace and, in February

2020, Constellation launched Corona Hard Seltzer to rectify that failure.

               5.      But Constellation cannot use the CORONA® trademarks for Corona Hard

Seltzer because it is outside of the Sublicense’s express limitation to “Beer.” Corona Hard Seltzer

is not a beer, ale, porter, stout, or malt beverage, or a version or combination of any of those

beverages, nor is it a non-alcoholic version of a beer, ale, porter, stout, or malt beverage.

               6.      Constellation spent more than $40 million dollars—its largest-ever single-

brand launch investment—on commercials, internet and print media announcing the introduction

of Corona Hard Seltzer. Yet in all of that advertising, Constellation never once called it a beer,

instead identifying its new product as a “spiked sparkling water.” In its earnings calls both before

and after the launch of Corona Hard Seltzer, Constellation’s executives expressly distinguished

Corona Hard Seltzer from “beer.” In January 2020, for example, Constellation’s President and

CEO Bill Newlands explained that “[s]eltzer is . . . not going to take space from our core beer

franchise. The consumer views it as something different. The retailer is viewing it as something




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different.” And in its April 2020 earnings call just after the launch, Newlands reaffirmed that

Corona Hard Seltzer “goes into a different space” than beer.

               7.      In early August 2020, Modelo notified Constellation that Constellation and

its affiliates were infringing Modelo’s CORONA® trademarks and in breach of the Sublicense.

Modelo insisted that Constellation cease importing, advertising, promoting, marketing, and selling

Corona Hard Seltzer and enter into negotiations regarding other relief to which Modelo believes it

is entitled. Yet Constellation continued its unlicensed acts.

               8.      Constellation has and continues to profit from its misconduct. By October

2020, Constellation boasted that “Corona Hard Seltzer [had] become one of the most successful

new product launches in our company’s history.” That success merely serves to underscore the

value of the Corona brand, and the damages that Modelo has suffered as a consequence of

Constellation’s improper conduct.

               9.      Constellation ignores the plain and unambiguous terms of the Sublicense in

an effort to obtain something that neither party bargained for nor received. Because Constellation

refuses to stop, Modelo is left with no choice but to bring this action to address Constellation’s

infringement of Modelo’s trademarks and breach of its contractual obligations.

                                         THE PARTIES

               10.     Modelo is a Mexican corporation with its principal place of business at

Cerrada de Palomas 22, Piso 6, Reforma Social, Miguel Hidalgo, Mexico City 11650, Mexico.

Modelo was founded in 1922 and is famous for having created and brewed many well-loved brands

of beer, including Corona, Modelo, Pacifico, and Victoria. Modelo’s Corona Extra is the world’s

most popular Mexican beer and the most popular imported beer in the United States, and Modelo

Especial is the second most popular imported beer in the United States. Given the popularity of




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Modelo beers in the United States, Modelo has come to be known as the producer of high-quality

Mexican-style beers.

                11.    Defendant CB Brand Strategies, LLC (“CBBS”) is a Delaware corporation

with its principal place of business in Victor, New York. CBBS manufactures wines, spirits, beer,

and other beverages. CBBS is a successor by assignment to Constellation Beers LTD., a signatory

to the Sublicense.

                12.    Defendant Crown Imports LLC (“Crown”) is a Delaware limited liability

company with its principal place of business in Chicago, Illinois. Crown imports and distributes

the Modelo and Corona beer portfolios in the United States, and is the U.S. distributor of Corona

Hard Seltzer.

                13.    Defendant Compañía Cervecera de Coahuila, S. de R.L. de C.V. (“CCC”)

is a Mexico limited liability company with its principal place of business in Nava, Coahuila,

Mexico. CCC produces and packages Corona Hard Seltzer in Mexico, and is responsible for

exporting Corona Hard Seltzer from Mexico to the United States.

                                JURISDICTION AND VENUE

                14.    This Court has original subject matter jurisdiction over this action pursuant

to 15 U.S.C. § 1121(a) and 28 U.S.C. §§ 1331 and 1338. This Court has supplemental jurisdiction

pursuant to 28 U.S.C. § 1367 over claims arising under the laws of the State of New York because

they are so related to the claims over which the Court has original jurisdiction that they form part

of the same case or controversy under Article III of the United States Constitution.

                15.    This Court has personal jurisdiction over Defendants pursuant to New York

General Obligations Law § 5-1402 because the action arises out of an agreement for which a choice

of New York law has been made, and which (i) relates to obligations arising out of a transaction




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covering in the aggregate not less than one million dollars, and (ii) contains a provision whereby

such parties agreed to submit to the jurisdiction of the courts of this state.1

               16.     Venue is proper in this district pursuant to (a) 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claims occurred within this

District, and (b) the foregoing express forum selection clause.

               17.     Modelo has satisfied all of the necessary preconditions required by the

Sublicense to commence a judicial action. A confidential alternative dispute resolution process

failed to yield a resolution to this dispute. (See Ex. A § 6.2.)

                                       RELEVANT FACTS

                                            Background
               18.     Founded in Mexico in 1922, Modelo is the preeminent brewer of Mexican

beers, and is responsible for some of the most well-known beers in the world. Today, Modelo is

responsible for more than 32,000 jobs, 10 breweries, and 20 production and brewing plants in

Mexico. Modelo owns the rights to many famous trademarks all over the world, including, for

example, Mexican trademarks for “Corona,” “Corona Extra,” and the Corona bottle label/design.

               19.     Modelo’s flagship brand, Corona, is sold in more than 160 countries and is

the leading Mexican beer and the number-one selling imported beer in the United States; Modelo

Especial is the second most popular imported beer in the United States.



1
        Pursuant to Section 6.2 of the Sublicense, “[Constellation] and [Modelo] irrevocably
consent to the exclusive personal jurisdiction and venue of the courts of the State of New York
and the federal courts of the United States, in each case sitting in New York County, in connection
with any action or proceeding arising out of or relating to this Agreement. [Constellation] and
[Modelo] hereby irrevocably waive, to the fullest extent permitted by law, any objection that it
may now or hereafter have to the laying of the venue of such action or proceeding brought in such
a court and any claim that any such action or proceeding brought in such court has been brought
in an inconvenient forum.”



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               20.     Modelo became fully part of the world’s largest alcohol beverages

company, Anheuser-Busch InBev SA/NV (“ABI”), in 2013.

               21.     After ABI and Modelo announced their merger, the U.S. Department of

Justice (“DOJ”) filed a lawsuit claiming that the merger would violate Section 7 of the Clayton

Act, which prohibits mergers and acquisitions when the effect “may be substantially to lessen

competition, or to tend to create a monopoly.” (United States v. Anheuser-Busch InBev SA/NV, et

al., No. 13-CV-127 (Jan. 31, 2013) (ECF No. 1).)         The DOJ alleged that the ABI-Modelo

transaction would substantially lessen competition in the market for “beer.” (Id. ¶ 7.) In its

Complaint, the DOJ defined “beer” as an “alcoholic beverage[] usually made from a malted cereal

grain, flavored with hops, and brewed via a process of fermentation. Beer is substantially

differentiated from other alcoholic beverages by taste, quality, alcohol content, image, and price.”

(Id. ¶ 25.)

               22.     To address the DOJ’s concerns about the anticompetitive effect in this

“beer” market, ABI and Modelo agreed to divest Modelo’s beer business in the United States

through a license to Constellation. The terms and conditions of the resolution of the DOJ action

are memorialized in the October 21, 2013 Final Judgment (the “Final Judgment”), so-ordered by

the United States District Court for the District of Columbia in United States v. Anheuser-Busch

InBev SA/NV, et al., No. 13-CV-127 (ECF No. 48); and the terms of the Modelo-Constellation

license are set forth in the Sublicense (attached as an exhibit to the Final Judgment (ECF No. 45-

2 at 73)). Notably, DOJ, ABI, Modelo, and Constellation chose different definitions of “Beer” in

the Final Judgment and Sublicense, each of which relate to separate issues and govern different

conduct.




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               23.     Modelo sold and Constellation acquired, for approximately $4.75 billion,

various assets related to Modelo’s U.S. beer business and the right to use certain intellectual

property in accordance with the terms and conditions of the Sublicense.

                                          The Sublicense
               24.     The Sublicense2 identifies multiple U.S. trademarks for existing beers that

are owned by Modelo and licensed to Constellation. Thus, for instance, in the Sublicense

Constellation received a license to sell beers branded with Modelo (e.g., Registration

Nos. 2,631,391, and 2,631,390), Pacifico (e.g., Registration Nos. 2,885,751 and 2,862,190), and

Victoria (e.g., Registration Nos. 4,146,768 and 4,146,767).

               25.     The most valuable trademarks, given its popularity worldwide and in the

United States, were for the Corona brand. These included those consisting of the Corona “Crown

Design” and the word “Corona” (e.g., Registration Nos. 2,634,004, 2,817,872, and 3,388,558);

variants of and/or additions to that word (e.g., Registration Nos. 2,600,236, 3,388,566, and

3,549,260); and/or stylized versions of those word(s) (e.g., Registration Nos. 1,681,366,

2,489,710, and 2,687,262).3

               26.     The licensed trademarks, which are set forth in Exhibits B and D to the

Sublicense and include any amendments or supplements to those exhibits and “Brand Extension

Marks,” are defined in the Sublicense as “Trademarks.” (See Ex. A §§ 1.1 at 4, 10, 2.15(b).) The



2
       Modelo and CBBS are the successors to the signatories to the Sublicense. Pursuant to
Section 2.6 of that agreement, CBBS has granted sublicenses under the Sublicense to its affiliates
Crown and CCC; those sublicenses bind Crown and CCC to the Sublicense. (See Ex. A § 2.6(a).)
3
        Under Section 2.10(a), “[o]wnership of the Trademarks and of the goodwill associated
therewith shall at all times remain in and inure solely to the benefit of [Modelo], and any trademark
rights or goodwill with respect thereto which may accrue as a result of advertising or sales of
Importer Products or Interim Products shall be the sole and exclusive property of [Modelo].”
(Ex. A § 2.10(a).)


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federally registered CORONA®-related Trademarks (and additional federally registered

CORONA®-related marks asserted here) for alcoholic beverages that are active today (collectively,

the “CORONA® Marks”) are listed in Appendix 1.

                27.    Modelo granted Constellation an exclusive license “to use the Trademarks

solely in connection with: (i) importing, advertising, promoting, marketing and selling Importer

Products and Interim Products in [the United States and Guam]; and (ii) the application of the

Trademarks to Importer Products in the course of manufacturing, bottling and packaging of

Importer Products in the applicable Brewing Territory . . . .” (Id. §§ 1.1 at 4, 9, 2.1.)

                28.    An “Importer Product” is a “Product or Brand Extension Beer produced in

the Brewing Territory by Constellation Beers or on behalf of Constellation Beers . . . ”; in turn,

“Product” is defined as “Beer packaged in Containers bearing one or more of the Trademarks.”

(Id. § 1.1 at 6, 8.) As stated above, the Sublicense defines “Beer” as “beer, ale, porter, stout, malt

beverages, and any other versions or combinations of the foregoing, including non-alcoholic

versions of any of the foregoing.” (Id. § 1.1 at 4.)

                29.    Notably, the parties to the Sublicense chose not to adopt any statutory or

regulatory definition of “Beer” (which differ around this country and the world) to govern their

relationship. This can be seen clearly in that the Sublicense definition begins by mirroring the first

four words of an Internal Revenue Code (“IRC”) definition, 26 U.S.C. § 5052(a), but then rejects

the rest of that definition and instead deliberately uses other language to delineate the licensed

products:

       beer, ale, porter, stout, and other similar fermented beverages (including saké or
       similar products) of any name or description containing one-half of 1 percent or
       more of alcohol by volume, brewed or produced from malt, wholly or in part, or
       from any substitute therefor malt beverages, and any other versions or combinations
       of the foregoing, including non-alcoholic versions of any of the foregoing




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Id. § 1.1 at 4 (emphasis on language in both IRC and Sublicense definitions; language from the

IRC definition that was not included in the Sublicense is struck and in red; and language in the

Sublicense definition but not in the IRC definition is underlined and in blue). In other words, the

Sublicense definition expressly rejects the broader language of the IRC definition, such that

alcohol beverages like “saké or similar products” are not “Beer” under the Sublicense even though

they may be taxed as such. And “non-alcoholic versions” are included in the Sublicense definition

of “Beer” but not in the IRC (and other) definitions. The “Beers” defined in the Sublicense and

the “beers” permitted under the IRC (and other regulatory and statutory definitions) are different—

and they differ because the parties intended a different outcome.

               30.     Constellation did not acquire and does not have unlimited rights to innovate

using the CORONA® Marks. It may innovate and bring to market any product it likes, but if it is

to bear a licensed Modelo U.S. trademark, the innovation must be within the scope of the

Sublicense. The parties in the Sublicense laid out a specific path for Constellation to innovate

using the CORONA® Marks when Constellation wanted to extend the brand. They agreed to the

concept of a “Brand Extension Beer,” which is defined as “Beer packaged in Containers bearing a

. . . Mark that is a derivative of one or more of the Trademarks for use in the marketing,

merchandising, promotion, advertisement (including sponsorship activities in connection with the

foregoing), licensing, distribution and sale of Mexican-style Beer.” (Id. § 1.1 at 4.) “Mexican-

style Beer” is defined as “Beer bearing the Trademarks that does not bear any trademarks, trade

names or trade dress that would reasonably be interpreted to imply to consumers in the Territory

an origin other than Mexico.” (Id. § 1.1 at 7.)

               31.     Together, these provisions give Constellation the right to (i) commercialize

“Beer” using the CORONA® Marks in the United States and Guam, and (ii) adopt and use




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trademarks that are derivative of the CORONA® Marks, but only in connection with the

commercialization of “Mexican-style Beer.” (Id. §§ 1.1 at 4, 7, 9; 2.1; 2.15.)

               32.     These restrictions on Constellation’s license are restated in Section 2.12,

which make it a breach of the Sublicense for Constellation to (i) “use, or authorize any other Person

to use, any Trademark or Trade Dress in connection with any . . . good . . . other than an Importer

Product” (i.e., a “Beer” or “Mexican-style Beer”) “except as expressly permitted by th[e

Sublicense],” and (ii) “(except as expressly authorized by th[e Sublicense]) use . . . any Mark or

trade dress that includes any of the Trademarks or that is confusingly similar to any of the

Trademarks.” (Id. § 2.12(b), (c).)

               33.     The Sublicense conveys the parties’ mutual intent. Section 1.2(d) of the

Sublicense states expressly that “[t]he language used in this Agreement shall be deemed to be the

language chosen by the parties to express their mutual intent.” The Sublicense also includes an

“Entire Agreement” provision (i.e., a “merger” clause), providing that the Sublicense and its

ancillary agreements4 “constitute the entire agreement among the parties . . . and supersede all

prior or contemporaneous agreements and understandings, whether written or oral.” (Id. § 9.6.)

               34.     The parties agreed in the Sublicense that “a breach or threatened breach by

them of any provision of this Agreement will result in the other entity suffering irreparable harm

which cannot be calculated or fully or adequately compensated by recovery of damages alone.

Accordingly, the parties agree that any party may, in its discretion (and without limiting any other


4
        The Ancillary Agreements are “the schedules and exhibits [to the Sublicense] . . . the
Confidentiality Agreement, dated as of May 26, 2012, by and between Constellation, ABI and
solely with respect to Section 2 thereof, Grupo Modelo . . . the Brewery SPA, the Membership
Interest Purchase Agreement, and the Restated LLC Agreement (as defined in the Membership
Purchase Agreement and solely to the extent Constellation Beers and Constellation do not acquire
all of Constellation Beers’ Interest (as defined in the Membership Purchase Agreement)), and the
Transition Services Agreement and each of the other Transaction Documents.” (Ex. A § 9.6.)



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available remedies), apply to any court of law or equity of competent jurisdiction for specific

performance and injunctive relief . . . in order to enforce or prevent any violations of this

Agreement, and any party against whom such proceeding is brought hereby waives the claim or

defense that such party has an adequate remedy at law and agrees not to raise the defense that the

other party has an adequate remedy at law.” (Id. § 9.8.)

                            Hard Seltzer and the Hard Seltzer Business
                   35.   At the time the parties negotiated the Sublicense, there were no “hard

seltzers” being sold (by beer companies or otherwise). Since 2016, hard seltzer products have

been the subject of explosive growth. Today, hard seltzers are the fastest-growing category in the

alcohol beverage industry, with 2019 sales of more than $1 billion more than quadrupling in 2020

to $4.5 billion.

                   36.   Constellation understood that it would be most successful entering the hard

seltzer market by using a strong brand. For example, on its Q2 FY 2020 earnings call on

October 3, 2019, the CEO of Constellation Brands, Inc. (“CBI”),5 Bill Newlands, stated that

Constellation “felt that if we’re going to enter th[e hard seltzer] category, we would do it with a

brand that had deep trust with the consumer.” Despite that, and Newlands’ statement that “Corona

carries unbelievably strong brand equity,” Constellation first attempted to enter the hard seltzer

space in June 2018 by introducing “Svedka Spiked Seltzer.”

                   37.   Svedka Spiked Seltzer was a flop, and Constellation stopped selling it in

August 2019.        Constellation chose to use the CORONA® Marks for its next attempts at

innovation—first with a seltzer look-alike, a flavored malt beverage named Corona Refresca—

and then finally with Corona Hard Seltzer.


5
        Defendants CBBS, Crown, and CCC are subsidiaries of Constellation Brands, Inc.



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                38.     Constellation has and continues to capitalize on the booming hard seltzer

market through its unauthorized production and sale of Corona Hard Seltzer—“one of the most

successful new product launches in [the] company’s history.” And Constellation has shown no

signs of slowing down: “Our intention,” CBI CEO Newlands explained in an October 1, 2020

earnings call, “is to become a top-three player in the hard seltzer market.”

                                      Corona Hard Seltzer
                39.     On November 4, 2019, Constellation, purportedly acting as Modelo’s agent,

filed an application to register a CORONA HARD SELTZER mark in the United States and

represented in that application that Corona Hard Seltzer would not be a “beer.” The application

was filed in “Class 33,” which is for “alcoholic beverages, except beers,”6 and identified the

intended product as “[a]lcoholic beverages, except beer; Hard seltzer; Flavored malt-based

alcoholic beverages.”

                40.     On November 11, 2019, Constellation filed another application for Corona

Hard Seltzer and again stated that it would not be “beer.” That application was also filed in

Class 33 and similarly identifies the intended product as “[a]lcoholic beverages, except beer; Hard

seltzer.”

                41.     In June 2020, after Corona Hard Seltzer had launched, Constellation

amended both applications and continued to represent that the proposed Corona Hard Seltzer

marks would not be used with a “beer.” Those two applications described the product as “Hard

seltzer; Flavored malt-based alcoholic beverages, excluding beers” and “Alcoholic carbonated

flavored brewed malt beverages, except beer; Hard seltzer.” Despite the shift, no malt is identified



6
       USPTO trademarks are categorized according to The International Classification of Goods
and Services (the “NICE Classification”) system.



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as an ingredient for Corona Hard Seltzer. In fact, Corona Hard Seltzer is not a flavored malt

beverage.

               42.     Constellation never discussed its plans for the product with Modelo or

provided Modelo with a copy of the recipe for Corona Hard Seltzer. That stands in stark contrast

to how Constellation worked with Modelo to launch Corona Refresca, when Constellation

consulted with Modelo for nearly 18 months prior to launch and provided Modelo with the recipe

for that flavored malt beverage. On information and belief, the reason for Constellation’s reticence

with Corona Hard Seltzer was that it knew the product is not a “Beer” and therefore not permitted

under the Sublicense. Instead, it was best to keep the market believing that Constellation was

producing another flavored malt beverage called “Corona Hard Seltzer.” But that was not true.

Corona Hard Seltzer is not a malt beverage.

               43.     In late February 2020, Constellation launched “Corona Hard Seltzer” in the

United States as a hard/spiked seltzer produced from a sugar base available in four flavors: tropical

lime, mango, cherry, and blackberry lime. The ingredients listed on the product revealed that it is

not a beer or a malt beverage. Neither hops nor malt, two defining characteristics of beer and malt

beverages, is identified as an ingredient.

               44.     Constellation repeatedly has acknowledged that it used Corona for its new

hard seltzer product because of the extraordinary value and popularity of the brand. For example,

on Constellation’s Q2 FY 2020 earnings call on October 3, 2019, CBI’s CEO Newlands explained

that Constellation “decided to put the Corona brand name on [their] new seltzer” because “Corona

carries unbelievably strong brand equity . . . [and] we felt that if we’re going to enter this category,

we would do it with a brand that had deep trust with the consumer.”




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               45.     Similarly, during CBI’s Q3 FY 2020 earnings call on January 8, 2020,

CBI’s CEO Newlands again explained that they “decided to put the Corona brand name on our

new seltzer” because “Corona carries unbelievably strong brand equity as the number-one most

loved brand among both Hispanic and total population drinkers aged 21 to 54.” And during

Constellation’s Q1 FY 2021 earnings call on July 1, 2020, Newlands explained that Constellation

“believe[s] the refreshment attributes of seltzer, combined with the halo effect of the Corona brand,

which remains one of the most loved beer brands, provides an opportunity to build one of the

strongest hard seltzer brands in our industry.”

               46.     But Corona Hard Seltzer is neither a “Beer” nor “Mexican-style Beer.” It

is a flavored seltzer made with “alcohol from sugar.” Corona Hard Seltzer is not made like “beer”

(or any of the other words used to define “Beer” in the Sublicense), does not have the same

ingredients, and does not look like, taste like, pour like, or have the aroma of a Beer.

               47.     Constellation has never once used the word “beer” (or any of the other

words used to define “Beer” in the Sublicense) in any of its tens of millions of dollars in television

commercials for Corona Hard Seltzer. Corona Hard Seltzer is prominently identified as a “hard

seltzer” and “spiked sparkling water.” (See Figure 1.) Constellation does, however, note on the

can that it is a “beer,” but it does so in order to achieve a lower tax rate for the product.

Constellation makes this disclosure in two-millimeter font beside the government-mandated health

warning on the back of each can (see Figure 2), as required by the IRC (and similar statutory and

regulatory tax and licensing rules) so that Constellation is taxed on Corona Hard Seltzer at the

lowest rate available for alcohol beverages. See 27 C.F.R. § 25.142.




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                        Figure 1                                           Figure 2




               48.      Constellation has repeatedly described hard seltzers—including Corona

Hard Seltzer—as a distinct category of alcohol beverages, separate from and different than beer.

For example, in its January 8, 2020 earnings call, Newlands explained that “[s]eltzer is, in all

likelihood, not going to take space from our core beer franchise. The consumer views it as

something different. The retailer is viewing it as something different . . . and we believe that will

continue.” Three months later, in its April 3, 2020 investor call, Newlands reaffirmed that

“[s]eltzer . . . is one of the fastest-growing sub-segments within the alcohol beverage business”

and that “[Corona Hard Seltzer] . . . goes into a different space” than beer. And in July 2020,

Newlands told shareholders that Constellation’s “introduction of Corona Hard Seltzer [was] a great

example of leveraging a tremendously strong brand into a new category,” and stated that it was

“important to not simply lump seltzer in with beer” because “[seltzer] is not necessarily a direct

trade-off with beer.”

               49.      Corona Hard Seltzer is also devoid of any meaningful indicia of the Corona

brand’s Mexican heritage and tradition. The only mention or hint of Mexico on a can of Corona

Hard Seltzer is in the bottom-right corner, in tiny font: “IMPORTED FROM MEXICO.” That disclosure

is likewise required by federal “country of origin” regulations. See 19 C.F.R. § 102.0; 19 C.F.R.



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§ 134.0. Spiked/hard seltzers were created in the United States and mostly featured (so far) in the

U.S. market (and not yet the Mexican market), and thus the “trademarks, trade names [and] trade

dress” used with Corona Hard Seltzer is “reasonably . . . interpreted to imply to consumers in the

[United States] an origin other than Mexico” (Ex. A § 1.1 at 7).

                  50.   Corona Hard Seltzer’s advertisements make no additional references to

Corona Hard Seltzer being a product of or being made in Mexico. The only references to Mexico

on the packaging and containers for Corona Hard Seltzer are required by U.S. law. And their

inclusion does not transform Corona Hard Seltzer into a “Mexican-style” anything, let alone a

Mexican-style Beer. The Sublicense requires that any such beverage not bear any Trademarks,

Trade Names, or Trade Dress that can reasonably be interpreted to imply to consumers an origin

other than Mexico, and Corona Hard Seltzer’s references to “hard seltzer” and its flavors may be

reasonably interpreted to do just that.

                                           Modelo’s Notice
                  51.   In early August 2020, Modelo notified Constellation that Constellation and

its affiliates were infringing Modelo’s CORONA® trademarks and in breach of the Sublicense.

Modelo insisted that Constellation cease importing, advertising, promoting, marketing and selling

Corona Hard Seltzer, and enter into negotiations regarding other relief to which Modelo believes

it is entitled.

                  52.   A confidential alternative dispute resolution process, a prerequisite to suit

here, failed to yield a resolution to this dispute.

                                   FIRST CAUSE OF ACTION

                           Trademark Infringement (15 U.S.C. § 1114)

                  53.   Modelo realleges and incorporates by reference each of the allegations

contained in paragraphs 1 through 52 of this Complaint.


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               54.     Modelo is the owner of the U.S. federal trademark registrations for the

CORONA® Marks.

               55.     The CORONA® Marks are valid and subsisting trademarks in full force and

effect.

               56.     By its registration and extensive use and promotion of the federally

registered CORONA® Marks, Modelo has established a strong association in the public mind

between the CORONA® Marks and the goods and services offered by Modelo.

               57.     Without Modelo’s authorization or consent, Constellation has reproduced,

copied, or otherwise used the CORONA® Marks in commerce in connection with the sale, offering

for sale, distribution, and advertising of Corona Hard Seltzer.

               58.     Constellation’s conduct has caused or is likely to cause confusion, mistake,

or deception among relevant consumers that Constellation is authorized to produce and distribute

Corona Hard Seltzer or that Corona Hard Seltzer is rendered, sponsored, or otherwise approved by

Modelo.

               59.     Constellation’s unlawful acts constitute trademark infringement in violation

of 15 U.S.C. § 1114.

               60.     As a direct and proximate result of Constellation’s conduct, Modelo has

suffered and will continue to suffer monetary damages as a result of Constellation’s unlawful acts

in an amount to be determined at trial.

               61.     Modelo and the public will suffer irreparable harm if Constellation’s

infringement continues. Modelo is therefore entitled to injunctive relief pursuant to 15 U.S.C.

§ 1116(a) that requires Constellation to stop infringing Modelo’s CORONA® Marks.




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                 62.   On information and belief, Constellation’s acts have been willful,

deliberate, and intended to benefit Constellation at Modelo’s expense. Constellation’s trademark

infringement therefore amounts to an “exceptional case” under 15 U.S.C. § 1117.

                 63.   Modelo is entitled to recover up to treble the amount of Constellation’s

unlawful profits and Modelo’s damages, and an award of attorneys’ fees under 15 U.S.C. § 1117.

                                SECOND CAUSE OF ACTION

                                       Breach of Contract
                 64.   Modelo realleges and incorporates by reference each of the allegations

contained in paragraphs 1 through 63 of this Complaint.

                 65.   The Sublicense is a valid and binding contract between Modelo and

Constellation.

                 66.   Modelo has fully performed under the Sublicense, including with respect to

any preconditions necessary for bringing this suit.

                 67.   Section 2.12 of the Sublicense states that Constellation shall not (i) “use, or

authorize any other Person to use, any Trademark or Trade Dress in connection with

any . . . good . . . other than an Importer Product . . ., except as expressly permitted by th[e

Sublicense],” and (ii) “(except as expressly authorized by th[e Sublicense]) use . . . any Mark or

trade dress that includes any of the Trademarks or that is confusingly similar to any of the

Trademarks.”

                 68.   Constellation breached Section 2.12 of the Sublicense by using the

CORONA® Marks in connection with Corona Hard Seltzer because (i) Corona Hard Seltzer is not

an “Importer Product” and (ii) the “Corona Hard Seltzer” trademark and related trade dress is

confusingly similar to the CORONA® Marks.




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               69.     Modelo has suffered and will continue to suffer damages as a result of

Constellation’s breach of the Sublicense in an amount to be proved at trial.

               70.     Constellation’s breach of the Sublicense is causing immediate and

irreparable harm to Modelo and to its goodwill and reputation, and will continue to do so unless

enjoined by this Court. Modelo is entitled to injunctive relief, as the parties agreed in Section 9.8

of the Sublicense.

               71.     Constellation’s breach of the Sublicense was and is willful and intentional.

                                    DEMAND FOR RELIEF

       WHEREFORE, Modelo respectfully requests that the Court enter judgment against

Defendants as follows:

               1.      Declaring that Constellation has no authorization to manufacture, import,

advertise, market, or sell Corona Hard Seltzer;

               2.      Declaring that Constellation has breached the Sublicense;

               3.      Declaring that Constellation has infringed the CORONA® Marks in

violation of Modelo’s rights under 15 U.S.C. § 1114;

               4.      Declaring that Modelo has not consented to any use of the Corona Hard

Seltzer trademark with regard to Corona Hard Seltzer;

               5.      Enjoining Constellation, its agents, officers, directors, employees,

franchisees, licensees, affiliates, principals, subsidiaries, parents, servants, representatives,

attorneys, shareholders, divisions, successors, and assigns, and all of those in active concert or

participation with them who receive notice of such judgment directly or otherwise, from

producing, marketing, and selling Corona Hard Seltzer;

               6.      Enjoining Constellation, its agents, officers, directors, employees,

franchisees, licensees, affiliates, principals, subsidiaries, parents, servants, representatives,


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attorneys, shareholders, divisions, successors, and assigns, and all of those in active concert or

participation with them who receive notice of such judgment directly or otherwise, from using or

authorizing others to use Modelo’s intellectual property, including the CORONA® Marks and/or

Trade Dress, except as expressly authorized under the Sublicense; using or authorizing others to

use in any manner any service mark, trademark, trade name, domain name, trade dress, words,

numbers, abbreviations, designs, colors, arrangements, collocations, or any combinations thereof

that would imitate, resemble or suggest Modelo’s well known CORONA® Marks except as

expressly authorized under the Sublicense; otherwise infringing Modelo’s CORONA® Marks or

trade dress; unfairly competing with Corona, or otherwise injuring Modelo’s business reputation

in any manner;

                 7.    Declaring that Modelo recover its damages and/or lost profits, and/or

Constellation’s profits, in an amount to be proven at trial;

                 8.    Declaring that Constellation be required to account for any profits that are

attributable to its unauthorized acts, and that Modelo be awarded (i) Constellation’s profits and

(ii) all damages sustained by Modelo, under 15 U.S.C. § 1117, plus prejudgment interest;

                 9.    Declaring that the amounts awarded to Modelo pursuant to 15 U.S.C.

§ 1117 shall be trebled;

                 10.   Declaring that this is an exceptional case and that Modelo be awarded its

costs and disbursements incurred in connection with this action, including Modelo’s reasonable

attorneys’ fees and investigative expenses; and

                 11.   Any and all such other relief be awarded to Modelo as this Court deems just

and proper.




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                                    JURY TRIAL DEMAND

      Plaintiff demands a jury trial of all issues so triable.

Dated: New York, New York             Respectfully Submitted,
       February 15, 2021


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                  APPENDIX 1: THE CORONA MARKS

             Trademark                   Design, if any        Reg. No.
1.       CORONA (STYLIZED)                                     1681366



2.   CORONA, CROWN & GRIFFIN                                   1689218
             DESIGN




3.    CROWN & GRIFFIN DESIGN                                   1462155



4.   CORONA EXTRA (STYLIZED)                                   1681365




5.   CORONA EXTRA LA CERVEZA                                   1729694
        MAS FINA & DESIGN




6.    LA CERVEZA MAS FINA &                                    1495289
             DESIGN




7.    CORONA LIGHT & DESIGN                                    1727969




8.        CORONITA EXTRA                                       1729701
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               Trademark                   Design, if any        Reg. No.
9.    CORONITA EXTRA LA CERVEZA                                  1761605
          MAS FINA & DESIGN




10.     CORONA LIGHT & DESIGN                                    2406232
      (HORIZONTAL LINE ABOVE THE
             WORD LIGHT)




11.          CROWN DESIGN                                        3048028




12.   CORONA EXTRA LA CERVEZA                                    3317902
      MAS FINA & BOTTLE DESIGN




13.   CORONA EXTRA CERVEZA LA                                    3544218
      CERVEZA MAS FINA & DESIGN




14.   CORONA EXTRA CERVEZA LA                                    3544217
      CERVEZA MAS FINA & DESIGN




15.          CORONA EXTRA                                        3388566
16.             CORONA                                           3388558
17.         CORONITA LIGHT                                       3549260



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              Trademark                   Design, if any        Reg. No.
18.         CORONA LIGHT                                        3605139
19.          CORONARITA                                         4594168
20.           CORONITA                                          4610922
21.       CORONA FAMILIAR                                       4486445
22.          CORONARITA                                         4476282
23.       CORONA DE MAYO                                        4808819
24.   CORONITA EXTRA & DESIGN                                   5152772



25.       CORONA & DESIGN                                       5152782




26.   CORONITA LIGHT & DESIGN                                   5973412




27.          CORONARITA                                         6008159
28.    CORONA LIGHT & DESIGN                                    5638418




29.    CORONA LIGHT & DESIGN                                    5576394




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              Trademark                    Design, if any       Reg. No.
30.     CORONA LIGHT & DESIGN                                   5336454




31.   CORONA LIGHT & DESIGN (2016                               5908477
              Horizontal)




32.     CORONA LIGHT & DESIGN                                   5336461




33.        CORONA PREMIER                                       5342121
34.     CORONA LIGHT & DESIGN                                   5991476




35.        CORONA & DESIGN                                      5565885




36.       CORONA REFRESCA                                       5686346




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             Trademark                    Design, if any        Reg. No.
37.    CORONA PREMIER LABEL                                     5745538
          DESIGN (COLOR)




38.       FIND YOUR BEACH                                       4191028
39.     LA CERVEZA MAS FINA                                     2963654
40.   FIND YOUR BRACKET BEACH                                   6159856

41.   ANOTHER WAY TO FIND YOUR                                  5829418
               BEACH
42.   FIND YOUR GAMEDAY BEACH                                   5651679




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